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 3     Las Vegas, Nevada 89145
       Tel.: (702) 835-6866
 4     telia@telialaw.com
       Attorney for the Defendant
 5     Leonardo Chavez Morales
 6
                                  UNITED STATES DISTRICT COURT
 7
                                          DISTRICT OF NEVADA
 8

 9
       UNITED STATES OF AMERICA,                           Case No. 2:16-cr-00225-GMN-PAL
10
                                                           STIPULATION AND ORDER TO
11                           Plaintiff,                    CONTINUE SENTENCING HEARING
12                    vs.
13     LEONARDO CHAVEZ MORALES and
       JOHN WILLIAM PRINCE,
14
                             Defendants.
15

16
                     IT IS HEREBY STIPULATED AND AGREED by and between Telia U.
17
      Williams, Esq., counsel for the defendant, Leonardo Chavez Morales, and Brandon Jaroch, Esq.,
18
      Assistant United States Attorney, that the Sentencing Hearing currently scheduled for February
19
      16, 2018 at 10:00am, be continued to a future date no sooner than sixty (60) days after the
20
      schedule date and on a date and at a time convenient to the Court.
21
             This Stipulation is entered into for the following reasons:
22
                 1. Counsel for Mr. Chavez-Morales is in the process of commissioning a Spanish-
23
                     language translator to translate the proposed Pre-Sentencing Report (PSR) into his
24
                     native tongue so that he can read it himself, and make any corrections: The pre-
25
                     sentencing report is lengthy and more time is needed in order to complete the
26
                     translation and correct any errors.
27
                 2. The undersigned Assistant United States Attorney has no objection to the
28
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 1                   continuance.

 2                3. The defendant is in custody and does not object to the continuance.

 3                4. This is the first request for a continuance of the sentencing date.

 4                   DATED: January 22, 2018

 5     LAW OFFICE OF TELIA U. WILLIAMS                      UNITED STATES ATTORNEY
 6     By:    /s/ Telia U. Williams                         By:   /s/ Brandon Jaroch
 7
             Telia U. Williams, Esq.                        Brandon Jaroch, Esq.
 8           10161 Park Run Drive, Suite 150                Assistant United States Attorney
                                                            501 Las Vegas Boulevard South, Suite 1100
             Las Vegas, Nevada 89145                        Las Vegas, Nevada 89106
 9           Tel.: (702) 835-6866                           Tel.: (702) 697-7525
10           telia@telialaw.com                             Fax: (713) 890-5001
             Attorney for Defendant                         Attorneys for Plaintiff
11           Leonardo Chavez Morales

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 5     Leonardo Chavez Morales

 6
                                  UNITED STATES DISTRICT COURT
 7
                                           DISTRICT OF NEVADA
 8

 9
       UNITED STATES OF AMERICA,                            Case No. 2:16-cr-00225-GMN-PAL
10
                                                            ORDER
11                            Plaintiff,

12                    vs.

13     LEONARDO CHAVEZ MORALES and
       JOHN WILLIAM PRINCE,
14
                              Defendants.
15

16                                           FINDINGS OF FACT

17            Based on the Stipulation of counsel, and good cause appearing therefore, the court finds
18    that the Stipulation by and between the United States and Leonardo Chavez-Morales is entered
19
      into for the following reasons:
20
              1.     Counsel for Mr. Chavez-Morales is having the current plea agreement translated
21
      into the defendants native language and more time is needed to accomplish this task.
22

23            4.     The parties agree to the additional time.

24            5.     This is the first request for a continuance of the sentencing date.

25            6.     Additionally, denial of this request for continuance could result in a miscarriage
26    of justice.
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                                                        3
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 1           For all of the above-stated reasons, the end of justice would best be served if
 2    Defendant’s sentencing was rescheduled.
 3
                                                   ORDER
 4           IT IS HEREBY ORDERED that the Sentencing Hearing currently scheduled for
 5    February 16, 2018 at 10:00am, be continued to Friday, April 20, 2018, at 10:00 a.m. in
 6
      Courtroom 7C.
 7                       26
             DATED this ____day of January, 2018.
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                                                           ________________________________
 9                                                         UNITED STATES DISTRICT JUDGE
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